896 F.2d 546Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.KARL X, Plaintiff-Appellant,v.Captain ELDRIDGE;  Sergeant Cottrell, Defendants-Appellees.
    No. 89-7749.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 12, 1989.Decided:  Feb. 5, 1990.
    
      Karl X, appellant pro se.
      William W. Muse, Assistant Attorney General, for appellees.
      Before WILKINSON and WILKINS, Circuit Judges, and HARRISON L. WINTER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Karl X appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Karl X v. Eldridge, CA-89-150-R (W.D.Va. July 25, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    